              Case 3:05-bk-03817-JAF      Doc 2381      Filed 07/21/05      Page 1 of 6



                                                     Hearing Date: August 4, 2005, 1:00 p.m.
                                                     Objection Deadline: July 28, 2005, 4:00 p.m.



                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

In Re:

WINN-DIXIE STORES, INC., et al.,                      Case No. 3:05-bk-03817-JAF
                                                      Chapter 11 (Jointly Administered)
            Debtor.
______________________________________/

        LIMITED OBJECTION TO DEBTOR’S MOTION FOR ORDER
  AUTHORIZING (I) RETROACTIVE REJECTION OF REAL PROPERTY LEASES
      AND (II) ABANDONMENT OF RELATED PERSONAL PROPERTY

         Catamo unt Atlanta, LLC, a Nevada limited liability company, as assignee of Helene

Funk and Peter W. Merner, as nominee for John H. O. La Gatta, as successor to Flask

Corporation (“La Gatta”), a party- in- interest in the above-captioned jointly-administered cases of

Winn-Dixie Stores, Inc., et al. (collectively, “Debtor”), hereby files this limited objection to the

Debtor’s Motion for Order Authorizing (I) Retroactive Rejection of Real Property Leases and

(II) Abandonment of Related Personal Property (the “Motion”).            In support of its limited

objection, La Gatta says:

         1.    Debtor filed voluntary petitions for relief under Chapter 11 of the United States

Bankruptcy Code (the “Code”) on or about February 21, 2005 (the “Petition Date”).

         2.    Pursuant to that certain February 10, 1984 Lease and Sublease Agreement, as

amended by that certain October 10, 1986 First Lease Modification Agreement, and that certain

January 31, 1994 Lease Modification Agreement (as amended, the “Lease”), by and between

Winn-Dixie Montgomery, Inc. aka Winn-Dixie Atlanta, Inc. (“Debtor”) and La Gatta for that

certain realty Debtor refers to as Store #2712 at Monroe Drive and Virginia Avenue, Midtown
            Case 3:05-bk-03817-JAF          Doc 2381      Filed 07/21/05     Page 2 of 6



Shopping Center, Atlanta, Georgia (the “Premises”), La Gatta leased the Premises to Debtor.

       3.     La Gatta does not contest Debtor’s ability to reject the Lease. However, La Gatta

objects to Debtor’s request, in its Motion, that the rejection be deemed effective as of the earlier

of (a) the date upon which Debtor provided notice of the termination to La Gatta and tendered

possession of the Premises to La Gatta, or (b) the date of the entry of an order approving the

Lease’s rejection. As Debtor apparently sent notice of its intention to reject the Lease to La

Gatta on June 30, 2005, via overnight delivery, Debtor appears to be seeking an order that makes

the Lease’s rejection effective as of July 1, 2005, at the earliest. For the reasons set forth below,

however, Debtor’s request for retroactive relief is not consistent with the dictates of the Code or

with prior decisions of this Court, and should be denied as to the Lease.

       4.     Section 365(d)(3) of the Code provides that:

            The trustee shall timely perform all the obligations of the debtor, except
            those specified in section 365(b)(2), arising from and after the order for
            relief under any unexpired lease of nonresidential real property, until such
            lease is assumed or rejected, notwithstanding section 503(b)(10) of this title.

11 U.S.C. §365(d)(3).
       5.     This Court previously has interpreted §365(d)(3) to require that a lessor of

nonresidential real property have an administrative claim for rent due during the period between

the petition date and the rejection of the lease. In re Kirsch, 242 B.R. 77, 79 (Bankr. M.D. Fla.

1999). Accord, In re Florida Lifestyle Apparel, Inc., 221 B.R. 897, 901 (Bankr. M.D. Fla. 1997).

       6.     In both Kirsch and Florida Lifestyle, this Court determined that the clear and

unambiguous language of §365(d)(3) dictated a result which Congress intended: “Congress

drafted Section 365(d)(3) to protect commercial landlords, not Debtor. This Court is not in a

position to rewrite Section 365(d)(3) or invoke Section 105(a) in an effort to obtain a more

equitable result when Section 365(d)(3) clearly mandates this decision.” Florida Lifestyle, 221



                                                  -2-
              Case 3:05-bk-03817-JAF        Doc 2381      Filed 07/21/05     Page 3 of 6



B.R. at 901.

         7.     Here, Debtor seeks an order which rejects the Lease retroactively to the date upon

which Debtor gave notice of its intent to vacate the Premises and terminate the Lease, i.e.,

approximately July 1, 2005. While courts generally give great latitude to a debtor’s business

judgments under §365, a debtor is not the ultimate arbiter of whether (or when) any lease will be

rejected. Unless a debtor is waiting for the automatic rejection of an unexpired lease under

§365(d)(4), the Code clearly requires notice to other parties in interest, a hearing, and court

approval. Until a court unequivocally approves the rejection of a lease, both the debtor and the

landlord are bound to perform.

         8.     If Debtor unilaterally can reject the Lease as of July 1, 2005, then this Court’s

approval of the rejection of the Lease is nothing more than a ministerial act. The Code says

otherwise:

              The court order authorizing rejection of a lease would be meaningless if the
              effective date of rejection was the date the debtor gave unequivocal notice
              to reject the lease…In addition, the requirement of a court order or the
              passage of time insures the finality which a landlord would need prior to
              releasing the leased space…If the debtor is aggrieved by the delay resulting
              in obtaining a court order approving the rejection of a lease, the debtor
              should seek an expedited hearing to consider the lease rejection.

Florida Lifestyle, 221 B.R. at 900, citations omitted. Accord, In re Worths Stores Corp., 130

B.R. 531, 533-34 (Bankr. E.D. Mo. 1991) and In re Garfinckels, Inc., 118 B.R. 154 (Bankr. D.C.

1990).

         9.     There are decisions which have approved the retroactive rejection of leases to a date

preceding the date of the court order; however, those courts have required that a debtor provide

evidence of compelling circumstances in order to obtain this form of extraordinary relief. In re

O’Neil Theatres, Inc., 257 B.R. 806, 808 (Bankr. E.D. La. 2000) (“in most cases a lease will be




                                                  -3-
           Case 3:05-bk-03817-JAF           Doc 2381      Filed 07/21/05      Page 4 of 6



considered rejected as of the date of entry of the order approving the rejection, and only in

exceptional circumstances such as those presented here will the court adopt a retroactive date.”)

       10. Here, however, Debtor has shown no compelling circumstances for the retroactive

rejection of the Lease. Debtor has not requested expedited relief from this Court in order to

minimize the estates’ exposure to La Gatta’s administrative claim. La Gatta has not engaged in

any inequitable conduct that seeks to delay the entry of an order rejecting the Lease. Debtor’s

only justification for this extraordinary relief is the implication that retroactive rejection will save

the estates money. If that were the standard, then every rejection motion would include a request

for retroactive application, and court approval would be essentially meaningless.

       11. In addition, the Lease is one of what Debtor refers to in its Motion as the so-called

“Dark Stores.” Based upon Debtor’s admissions in the Motion, Debtor has known since at least

April, 2004, that it would not continue its retail operations at the Premises, yet despite this

Debtor waited more than four (4) months into this bankruptcy case to request authority to reject

the Lease. Debtor is responsible for the delay in seeking rejection of the Lease, not La Gatta,

and La Gatta should not suffer the consequences of this delay.

       12. As Debtor has shown no extraordinary circumstances that merit extraordinary relief,

Debtor’s request for retroactive rejection of the Lease should be denied.




                                                  -4-
           Case 3:05-bk-03817-JAF          Doc 2381      Filed 07/21/05     Page 5 of 6



       WHEREFORE, La Gatta respectfully requests that the Court (1) determine that the

rejection of the Lease should be effective, if at all, upon the date of the entry of an order

authorizing such rejection, and (2) grant La Gatta all other relief just and proper.

Dated: July 21, 2005                           Respectfully submitted,

                                               __/s/ C. Daniel Motsinger_______________
                                               C. Daniel Motsinger
                                               Florida Bar No.: 0362875
                                               KRIEG DeVAULT LLP
                                               One Indiana Square, Suite 2800
                                               Indianapolis, IN 46204-2079
                                               Telephone: 317/636-4341; Fax: 317/636-1507
                                               E- mail: cmotsinger@kdlegal.com

                                               Attorneys for Catamount Atlanta, LLC, a Nevada
                                               limited liability company, as assignee of Helene
                                               Funk and Peter W. Merner, as nominee for John H.
                                               O. La Gatta, as successor to Flask Corporation




                                                 -5-
           Case 3:05-bk-03817-JAF        Doc 2381      Filed 07/21/05     Page 6 of 6



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been served upon the
parties by operation of the Court’s electronic filing system on July 21, 2005, as indicated below:


                                             __/s/ C. Daniel Motsinger______
                                             C. Daniel Motsinger

Adam Ravin                                        Dennis F. Dunne
Skadden Arps Slate Meagher & Flom, LLP            Milbank Tweed & Hadley
Four Times Square                                 1 Chase Manhattan Plaza
New York, NY 10036                                New York, NY 10005

Elana L. Escamilla                                John B. McDonald
Office of United States Trustee                   Akerman Senterfitt
135 W. Central Boulevard, Suite 620               50 N. Laura Street, Suite 2500
Orlando, FL 32806                                 Jacksonville, FL 32202

Cynthia C. Jackson
Smith, Hulsey & Busey
225 Water Street, Suite 1800
Jacksonville, FL 32201

KD_IM-627898_1.DOC




                                               -6-
